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 1   LAW OFFICES OF G. SAMUEL CLEAVER
     G. SAMUEL CLEAVER (Cal. Bar No. 245717)
 2   3660 Wilshire Boulevard, Suite 922
     Los Angeles, CA 90010
 3   Tel: 213.568.4088
     Fax: 213.568.4105
 4   Email: sam@gscleaverlaw.com
 5   Attorneys for Plaintiff
     EBONY BALLARD
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 8
 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
     EBONY BALLARD,                         Case No. 2:20-cv-02679-MCS-E
12
                     Plaintiff,            [Hon. Mark C. Scarsi]
13
     v.
14                                         JOINT STATUS REPORT
     LOUIS DEJOY, Postmaster General of    REGARDING SETTLEMENT
15   the United States,
16
                    Defendant.
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                                            Pretrial Conference Date: 5/24/21
18                                          Trial Date: 6/15/21
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 Case 2:20-cv-02679-MCS-E Document 36 Filed 04/26/21 Page 2 of 2 Page ID #:968




 1         On April 19, 2021 the Parties mediated this matter with Lynn Bassis, Esq. and
 2   were not able to reach a resolution. No further mediation sessions are scheduled and
 3   no further settlement discussions are currently planned. The Parties have significantly
 4   different positions on the case, and it is unlikely further assistance from the Court
 5   would help the Parties reach a resolution.
 6
                                             LAW OFFICES OF G. SAMUEL CLEAVER
 7
 8   Dated: April 26, 2021                   By:/s/ G. Samuel Cleaver
                                              G. Samuel Cleaver
 9                                            Attorneys For Plaintiff
                                              Ebony Ballard
10
11
                                             TRACY L WILKINSON
12                                           Acting United States Attorney
                                             DAVID M. HARRIS
13                                           Assistant United States Attorney
                                             Chief, Civil Division
14                                           JOANNE S. OSINOFF
                                             Assistant United States Attorney
15                                           Chief, General Civil Section

16
17   Date: April 26, 2021                    By: /s/ Fatimargentina Lacayo
                                              Fatimargentina Lacayo
18                                            Assistant United States Attorney
                                              Attorneys for Defendant
19                                            Louis DeJoy, Postmaster General of the
                                              United States
20
21
                       ATTESTATION REGARDING SIGNATURES
22
           I, G. Samuel Cleaver, attest pursuant to L.R. 5-4.3.4(a)(2)(i) that all signatories
23
     listed, and on whose behalf the filing is submitted, concur in the filing’s content and
24
     have authorized the filing.
25
26
     Dated: April 26, 2021                   By:   By:/s/ G. Samuel Cleaver
27
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